                        UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF TENNESSEE
                              AT GREENEVILLE



UNITED STATES OF AMERICA                      )
                                              )
v.                                            )         No. 2:14-CR-035
                                              )
SERGIO VERDIN REYES                           )


                                     ORDER

             The defendant’s motion to continue [doc. 200] is GRANTED for the

reasons provided therein. Sentencing, presently scheduled for June 4, 2015, is RESET to

Tuesday, August 4, 2015, at 1:15 p.m. in Greeneville.



             IT IS SO ORDERED.

                                                        ENTER:



                                                              s/ Leon Jordan
                                                        United States District Judge




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